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                                   8                                UNITED STATES DISTRICT COURT
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                                                                  NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
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                                  12    IN RE ANTHEM, INC. DATA BREACH                     Case No. 15-MD-02617-LHK
Northern District of California
 United States District Court




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                                  13                                                       JUDGMENT
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                                  18          The Court hereby enters final judgment as defined in Federal Rule of Civil Procedure 58(a)

                                  19   in this action as between Plaintiffs and Defendants. Pursuant to this Final Judgment:

                                  20          1. Upon the effective date of the Settlement Agreement and Release (ECF No. 869-8

                                  21   ¶ 14.1), Settlement Class Representatives and Settlement Class Members shall be deemed to have

                                  22   released Defendants from any and all Released Claims as defined in the Settlement, id. ¶ 13.1.

                                  23          2. Without affecting the finality of the Court’s judgment in any way, the Court retains

                                  24   jurisdiction over this matter in accordance with Paragraph 18.15 of the Settlement Agreement and

                                  25   Release.

                                  26          3. The parties are hereby ordered to comply with the terms of the Settlement.

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                                   1          4. This action is dismissed with prejudice against Defendants, each side to bear its own

                                   2   costs and attorney’s fees except as provided by the Settlement and the Court’s orders.

                                   3          5. The Clerk shall close the file in the MDL and all of the member cases.

                                   4   IT IS SO ORDERED.

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                                   6   Dated: August 16, 2018

                                   7                                                   ______________________________________
                                                                                       LUCY H. KOH
                                   8                                                   United States District Judge
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Northern District of California
 United States District Court




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                                       Case No. 15-MD-02617-LHK
                                       JUDGMENT
